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                           IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF KANSAS
                                  AT KANSAS CITY, KANSAS

SHERRES TAYLOR,                              )
                                             )
              Plaintiff,                     )
vs.                                          )       Case No.
                                             )
ALEJANDRO VALDEZ, JR.; AND                   )
ONTRACK TRANSPORTATION, INC.,                )
                                             )
              Defendants.                    )
                                             )


                                         COMPLAINT

       Plaintiff, through counsel J. Corey Sucher and Richard W. James of DeVaughn James

Injury Lawyers and for her claims against Defendants, asserts and alleges:

                                       A.        PARTIES

1.     Plaintiff is a citizen of Kansas who resides at 2730 SE Golden Ave., Topeka, Kansas 66605.

2.     Defendant Alejandro Valdez, Jr. (hereinafter, “Defendant Valdez”) is a citizen of Texas

       and he may be served at his residence located at 1309 Royal Palm St., Alamo Texas 78516.

3.     Defendant Ontrack Transportation, Inc. (hereinafter, “Defendant Ontrack Transportation”)

       is a foreign corporation incorporated in North Carolina with its principal place of business

       also in North Carolina. It may be served with process through its Registered Agent,

       Mikhail Radchishin, at 1151 Falls Road, Building DM Suite 1030, Rocky Mount, North

       Carolina 27804.
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                           B.        JURISDICTION AND VENUE

4.    This Court has jurisdiction over the parties and subject matter.

5.    Venue is proper in the Kansas City division of the Kansas Federal District Court.

6.    The subject collision took place in Kansas City, Wyandotte County, Kansas on November

      4, 2021.

7.    This action is brought pursuant to 28 U.S.C. Section 1332(a) on the basis of diversity of

      citizenship and the matter in controversy exceeds the sum of $75,000.00, exclusive of interests

      and costs.

                                C.      NATURE OF ACTION

8.    This is a personal injury action arising out of a motor vehicle and tractor trailer collision

      between a vehicle driven by Plaintiff and a tractor trailer operated and driven by Defendant

      Valdez for Defendant Ontrack Transportation.

       D.        ALLEGATIONS OF NEGLIGENCE AND NEGLIGENCE PER SE

9.    At all times relevant herein, Defendant Valdez was an employee and/or agent of Defendant

      Ontrack Transportation and was acting in the course and scope of his employment with

      Defendant Ontrack Transportation.

10.   Defendant Valdez was hired, qualified, supervised, and trained by Defendant Ontrack

      Transportation.

11.   On or about November 4, 2021 Defendant Valdez was operating a tractor trailer in the

      course and scope of his employment with Defendant Ontrack Transportation westbound

      on I-70 in Kansas City, Kansas when he was involved in a collision (hereinafter, “the

      collision”) with a vehicle being operated by Plaintiff.




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12.   The collision was caused by Defendant Valdez when he attempted to change lanes without

      ensuring it was safe to do so and struck Plaintiff’s vehicle, sending it out of control.

13.   Defendant Ontrack Transportation is a motor carrier and operating under authority through

      the United States Department of Transportation with an assigned D.O.T. number of

      2992942.

14.   The semi-trailer truck being operated by Defendant Valdez was owned, maintained,

      dispatched, supervised, controlled and repaired by Defendant Ontrack Transportation and

      was used as a commercial motor vehicle in both intrastate and interstate business making

      it subject to the Federal Motor Carrier Safety Administration regulations under 49 C.F.R.

      Sections 381 et. Seq.

15.   49 C.F.R. § 390.3(e)(1) & (2) provide that every driver and employee shall be instructed

      regarding and shall comply with all applicable regulations contained in the FMCSR.

16.   49 C.F.R. § 390.5 provides that "motor carrier" means a for-hire motor carrier or a private

      motor carrier. That term includes a motor carrier's agents, officers, and representatives as

      well as employees responsible for hiring, supervising, training, assigning, or dispatching

      of drivers.

17.   Defendant Ontrack Transportation was at all material times a "motor carrier" and an

      "employer" of its driver Defendant Valdez in regard to the operation of a commercial motor

      vehicle as defined in 49 C.F.R. §382.107.

18.   The actions and/or omissions of Defendant Valdez are the actions and/or omissions of

      Defendant Ontrack Transportation under respondeat superior and vicarious liability and

      were negligent for the following reasons:

      a. Failure to keep a proper lookout;

      b. Inattentive operation of a commercial motor vehicle;

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      c. Failure to yield right of way;

      d. Failure to keep a proper lookout;

      e. Failure to maintain control of the vehicle;

      f. Failure to exercise ordinary care;

      g. Failure to give warning;

      h. Failure to take evasive action;

      i. Improper lane change;

      j. Failure to signal;

      k. Speeding too fast for the conditions present;

      l. Upon information and belief, operating a motor vehicle while using a wireless

         communications device to write (i.e., type), send, or read a written communication

         including, but not limited to, a text message, instant message, and/or email;

      m. Operation of a commercial motor vehicle in a careless manner;

      n. Operation of a commercial motor vehicle without first ascertaining that movement

         could have been safely made;

      o. Negligence and negligence per se for violations of laws, ordinances, and/or statutes of

         the State of Kansas and/or the County of Wyandotte; and

      p. Other actions and/or omissions that will be supplemented after the receipt of full and

         complete discovery.

19.   Additionally, upon information and belief, Defendant Ontrack Transportation’s separate

      actions and/or omissions were negligent for the following reasons:

      a. Negligent hiring, training, supervision, and/or retention of Defendant Valdez by, upon

         information and belief, failing to adequately warn and/or suspend and/or terminate

         and/or train in proper defensive driving skills and/or reprimand Defendant Valdez;

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         failing to have adequate, based on industry standards, safety management protocols in

         place; failing to properly create and implement a formal safety program that would

         require, in part, Defendant Valdez to be comprehensively tested to determine

         understanding of defensive driving skills training received; failing to test Defendant

         Valdez for alcohol and drug consumption as needed; hiring unfit employees and/or

         agents, which it knew or should have known posed an undue risk of harm to Plaintiff

         and others, and failing to properly train, supervise, and monitor them, including, but

         not limited to, Defendant Valdez; retaining employees and/or agents who are not

         performing their jobs properly or adequately, including, but not limited to, Defendant

         Valdez; failing to use reasonable care in the hiring, selecting, training, monitoring, and

         retention of its employees and/or agents, including, but not limited to, Defendant

         Valdez; and/or ratifying all conduct of Defendant Valdez and/or his supervisory and/or

         hiring personnel, either expressly and/or impliedly.

20.   The negligence of Defendant Ontrack Transportation and its employee/agent Defendant

      Valdez proximately caused the collision and the personal injuries and damages of Plaintiff.

21.   As a result of Defendants’ negligence, Plaintiff sustained severe personal injuries. Plaintiff

      has or is expected to sustain past medical expenses; future medical expenses; other past

      and future economic damages; as well as past and future non-economic damages, including

      but not limited to pain, suffering, and mental anguish.




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       Plaintiff requests judgment against Defendants in an amount in excess of $75,000.00, for

costs herein, and for such other and further relief as the Court deems just and equitable.


             DEMAND FOR PRETRIAL CONFERENCE AND JURY TRIAL

       Plaintiff demands a pretrial conference and a trial by jury.


                           DESIGNATION OF PLACE OF TRIAL

       Plaintiff designates Kansas City, Kansas as the place for trial in this matter.



                                      Respectfully submitted,

                                      DeVaughn James Injury Lawyers

                                      By: /s/ J. Corey Sucher
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